Case 1:20-cv-21841-JEM Document 1 Entered on FLSD Docket 05/04/2020 Page 1 of 16



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                           CIVIL DIVISION

                                              CASE NO.:

   SUSAN KHOURY,

                 Plaintiff,
   v.

   MIAMI-DADE COUNTY, a political
   subdivision of the State of Florida,
   CARMEN MANNING, a resident
   of the State of Florida, and DARIUS
   MCGAHEE

              Defendants.
   ______________________________/

                                               COMPLAINT

        Plaintiff, SUSAN KHOURY (“Ms. Khoury”), brings this Complaint against MIAMI-DADE

  COUNTY (“the County”), CARMEN MANNING (“Ms. Manning” or “Officer Manning”), and

  DARIUS MCGAHEE (“Mr. McGahee” or “Officer McGahee”), and allege the following:

                              THE PARTIES, JURISDICTION, AND VENUE

  At all times material to this action:

          1.     Ms. Khoury was a citizen of the State of Florida, and a resident of Miami-Dade

  County, Florida.

          2.     Defendant, Miami-Dade County, was a public entity incorporated under the laws

  of the State of Florida, and is responsible for establishing, organizing, operating and policing all

  areas in Miami-Dade County, Florida

          3.     Defendant, Carmen Manning, was a resident the State of Florida and a police

  officer with the Miami-Dade County Police Department.


                                                    1
Case 1:20-cv-21841-JEM Document 1 Entered on FLSD Docket 05/04/2020 Page 2 of 16




           4.    Defendant, Darius McGahee, was a resident the State of Florida and a police

  officer with the Miami-Dade County Police Department.

           5.    The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

  1331 and 42 U.S.C. § 1983. Ms. Khoury also request this Court to exercise supplemental

  jurisdiction over her state law claim against the County pursuant to 28 U.S.C. § 1367(a) because

  it arises out of the same operative nucleus of facts. Venue is proper because the events giving

  rise to this claim all occurred within Miami-Dade County, Florida.



                             THE FACTS GIVING RISE TO THE CLAIM

  Background:

           6.    At the time of this incident, Ms. Khoury lived at 6120 SW 94 Place in

  unincorporated Miami-Dade County. The home had belong to the Khoury family for over 37

  years.

           7.    Ms. Khoury’s residence is essentially across the street from Glades Middle

  School, which is located at 9451 SW 64 Street in Miami-Dade County.

           8.    In approximately 2010, the Miami-Dade County School Board (“the School

  Board”) allowed Glades Baseball Softball League, Inc. (“GBSL”) to expand its baseball and

  softball games and practices at Glades Middle School.

           9.    The School Board’s contract allowed GBSL to have virtually unfettered access to

  the baseball fields at Glades Middle School, except for school hours.

           10.   Since 2010, GBSL has played baseball and softball games virtually every night of

  the work-week and on the weekends.




                                                  2
Case 1:20-cv-21841-JEM Document 1 Entered on FLSD Docket 05/04/2020 Page 3 of 16




            11.   Ms. Khoury’s home is exactly one house over from the entrance to the baseball

  fields.

            12.   The residual effects of the baseball league are totally unacceptable for any citizen,

  let alone long-time homeowners and tax payers.1

            13.   For example, league participants destroyed many of the residents’ lawns by

  parking their cars on the grass almost every night of the week.

            14.   GBSL participants and observers left trash in the yards, knocked down mailboxes,

  and ran over plants.

            15.   On one occasion, Ms. Khoury’s neighbor had all four tires slashed because she

  called the police on a GBSL participant/observer for completely blocking her driveway.

            16.   Many of Ms. Khoury’s neighbors were unable to sleep comfortably because the

  lights to the baseball fields illuminated their homes, and were left on until approximately 11:30

  p.m. every night of the week.

            17.   After the league expanded its operations, Ms. Khoury and approximately 60 of

  her neighbors lodged complaints to the Miami-Dade Police Department, Miami-Dade County

  Commissioners, the Miami-Dade School Board, State Representatives, and Code Enforcement

  about the problems related to the School Board’s contract with GBSL.

            18.   Ms. Khoury continuously notified the Miami-Dade Police Department and the

  School Board about the parking and garbage problem.

            19.   Even so, Ms. Khoury had only two requests to the School Board: (1) lock the gate

  to the field entrance adjacent to her house, which would force GBSL participants and observers



  1
   It is important to note that before 2010, Ms. Khoury never had any problems with the baseball
  league or its participants.
                                                    3
Case 1:20-cv-21841-JEM Document 1 Entered on FLSD Docket 05/04/2020 Page 4 of 16




  to park in the school’s parking lot; and (2) require GBSL to darken the lights at a reasonable

  hour.

          20.     In response to her request, the School Board told Ms. Khoury that its employees

  would lock the gates near her home, but they were inconsistent in doing so - at best.

          21.     When Ms. Khoury attempted to notify the School Board that the problem was on-

  going, the School Board shockingly sent Ms. Khoury a letter stating that one of its employees

  visited the field and that there is no longer a parking problem or garbage problem.

          22.     In order to document the continuing problem, Ms. Khoury began photographing

  the improperly parked cars and the unlocked gates. She would also notify law enforcement

  about the improperly parked cars.

          23.     On most occasions, the Miami-Dade Police Department would respond.

          24.     GBSL participants obviously did not appreciate Ms. Khoury’s law and order

  approach to the situation. Therefore, when Ms. Khoury photographed their illegally parked cars

  or the unlocked gate, GBSL participant would also contact law enforcement and complain about

  her filming them.

          25.     Over the years, most law enforcement officers who worked in the area knew

  about the rift between the Ms. Khoury and the GBSL participants.2

  The Incident:

          26.     On or about June 22, 2018, Anna Darden was attending her son’s baseball game

  at Glade’s Middle School.


  2
   As explained below, Officer Manning even told Officer McGahee that, “Every year we deal
  with her. It’s always something with her. Trust me, everybody is going to hear about this. From
  the major, to the Director, you will see.”


                                                   4
Case 1:20-cv-21841-JEM Document 1 Entered on FLSD Docket 05/04/2020 Page 5 of 16




         27.     Ms. Darden notice Ms. Khoury standing across the street on the sidewalk, which

  is at least 100 feet away from the spectator stands.

         28.     Ms. Darden saw Ms. Khoury holding her phone in her hand and accused Ms.

  Khoury of filming the GBSL participants (as if it illegal to film in public).

         29.     Ms. Darden then called the police.

         30.     Officer Carmen Manning and Officer Darius McGahee were riding together in a

  marked patrol vehicle and responded to the call.

         31.     Officer Manning was very familiar with Ms. Khoury and her years-long fight to

  correct the parking problem at Glades.

         32.     Officer Manning also knew that Ms. Khoury would take photographs to document

  the problem.

         33.     Officer Manning even knew where Ms. Khoury lived.

         34.     While in route to the area, and as heard on the body worn cameras, Officer

  Manning told Officer McGahee:

         She’s normally on this street here, because she lives somewhere over there ….
         Yeah because she stays on 62 and 94 place. Yeah, I knew it. That is where she
         be standing. I know that she is on this street. This is her street.

         35.     Upon seeing Ms. Khoury, Officer William stated, “Yeah, this is her.”

         36.     Officer Manning pulled over her patrol vehicle.

         37.     Both Officer Manning and Officer McGahee exited the patrol car.

         38.     Officer Manning stated, “Ma’am, come here. Come here.”

         39.     Ms. Khoury stood in the same place and asked, “What is the problem?”

         40.     Officer Manning and Officer McGahee both approach Ms. Khoury and stood in

  very close proximity to her.


                                                     5
Case 1:20-cv-21841-JEM Document 1 Entered on FLSD Docket 05/04/2020 Page 6 of 16




          41.    Officer Manning stated in an aggressive tone, “You know that I have made

  contact before, remember? Remember me? Hum?

          42.    Ms. Khoury remained silent.

          43.    Officer Manning stated, “You don’t remember me? Okay.”3

          44.    Ms. Khoury asked Officer Manning, “What can I do for you?”

          45.    Officer Manning stated, “No. Let me tell you what’s going to happen… Why are

  you here taking pictures?!?”

          46.    Ms. Khoury responded, “I am not standing here taking pictures.”

          47.    Officer Manning asked Ms. Khoury for her identification.

          48.    Ms. Khoury told Officer Manning that she did not have any identification on her.4

          49.    Officer Manning then stated in an aggressive tone, “You will give me some ID

  ma’am! You are taking pictures of what is going on over here. We have children playing.”

          50.    Ms. Khoury, concerned about Officer Manning’s aggressive tone, asked Officer

  Manning to call her supervisor.

          51.    Officer Manning told Ms. Khoury, “I will call my sergeant, but you will give me

  your name.”

          52.    Ms. Khoury stated, “Susan Khoury, I live right here,” and then attempted to walk

  away.




  3
   The totality of Officer Manning’s actions seem to indicate that, on some other occasion, she
  ordered Ms. Khoury to stop filming.
  4
   It is important to note that Ms. Khoury was clearly dressed in “lounging around the house
  clothes” and that Officer Manning knew that Ms. Khoury was only a few steps from her home.
  Any reasonable human being should have known that Ms. Khoury’s identification was likely
  inside of her home.

                                                  6
Case 1:20-cv-21841-JEM Document 1 Entered on FLSD Docket 05/04/2020 Page 7 of 16




         53.     Both Officer Manning and Officer McGahee grabbed Ms. Khoury, and Officer

  Manning yelled:

         Ma’am do not go anywhere. I am speaking to you and I am trying to deal with
         you accordingly. As a law enforcement officer, I am allowed to ask you for your
         name and your date of birth when I make contact with you because I am here.
         Now I am not going to allow you to walk away from here.

         54.     Ms. Khoury responded, “Do you want to make a show for them,” and pointed to

  the people at the baseball field.

         55.     During their one-sided conversation, Officer Manning consistently cut off Ms.

  Khoury as she tried to speak. Officer Manning would yell over Ms. Khoury, “Ma’am! Ma’am!”

         56.     Officer Manning also kept putting her fingers in very close proximate to Ms.

  Khoury’s face, as if she were a child.

         57.     One of the final times that Officer Williams cut off Ms. Khoury and yelled,

  “Ma’am! Ma’am,” Ms. Khoury responded back and said, “Why are you yelling at me?”

         58.     Officer Manning and Officer McGahee immediately grabbed Ms. Khoury’s arms

  and quickly threw her to the ground.

         59.     Another female officer arrive and place her knee on top of Ms. Khoury’s back.

         60.     Ms. Khoury asked the officers, “What are you doing to me? What am I doing

  wrong?” as the officers were on top of her.

         61.     Officer McGahee officer yelled out the standard police protocol, “stop resisting,”

  even though Ms. Khoury was not resisting at all.

         62.     Officer Manning and McGahee unnecessarily twisted Ms. Khoury’s arms behind

  her back in an awkward position.

         63.     Ms. Khoury repeatedly asked, “Tell me what I am doing wrong. Please tell me

  what I am doing wrong.”

                                                  7
Case 1:20-cv-21841-JEM Document 1 Entered on FLSD Docket 05/04/2020 Page 8 of 16




         64.       The officers handcuffed Ms. Khoury and placed her in the back seat of their patrol

  car.

         65.       As a result of the officers’ actions, Ms. Khoury suffered several contusions on her

  eyes, nose and hands.

         66.       Ms. Khoury also suffered injuries to her shoulder and wrists.

         67.       Officer McGahee then asked Officer Manning, Have you spoken to the

  complainant or anything.”

         68.       Officer Manning responded, “No, not yet.” 5

         69.       In other words, the officers caused this whole scene with Ms. Khoury without

  even speaking to the complaining party to find out what actually happened.

         70.       Officer McGahee told Officer Manning, “I am going to go and talk to these

  people across the street.”

         71.       Officer Manning responded, “Find out who is Ms. Anna … something,” meaning

  the GBSL participant who called the police in the first place.

         72.       When Officer McGahee finally spoke Ms. Darden, she explained that Ms. Khoury

  was “standing across the street videotaping us.”

         73.       Ms. Darden claimed that she told Khoury to “put the phone away, you need to

  stop filming.”

         74.       Ms. Darden stated that Ms. Khoury then “smile[d] and wave[d]” at her.

         75.       According to Darden, Ms. Khoury was “not cooperating” and everyone felt like,

  “Why is she videotaping us?”


  5
    It is quite shocking that the officers would treat Ms. Khoury is such fashion without even
  speaking to the complaining party, especially since the only allegation was that Ms. Khoury was
  filming in public.
                                                     8
Case 1:20-cv-21841-JEM Document 1 Entered on FLSD Docket 05/04/2020 Page 9 of 16




         76.     The officers arrested Ms. Khoury for disorderly conduct and resisting arrest

  without violence and then transported her to the jail.

         77.     After Officer Manning and McGahee booked Ms. Khoury into the jail, they

  returned to their patrol car and had a conversation about Ms. Khoury.

         78.     Officer Manning repeatedly referred to Ms. Khoury as a “coo-coo” bird.

         79.     Officer Manning told Officer Ms. Khoury “is always into something with those

  people.”

         80.     Officer Manning stated Ms. Khoury always goes out to the park and wants to take

  pictures of people at the park.

         81.     Officer Manning knew that Ms. Khoury had constantly complained about people

  parking in different places.

         82.     Officer Manning slyly stated, “Like [the parking] is bothering her.”

         83.     Officer Manning also knows that Ms. Khoury takes photographs to document the

  parking problem.

         84.     Officer Manning stated, “Trust me, everybody is going to hear about this. From

  the major, to the Director, you will see.”

         85.     Ms. Khoury has suffered tremendously because of this incident, including pain

  and suffering, mental anguish, emotional distress, legal fees, which are on-going and continuous.

         COUNT I: DEPRIVATION OF CIVIL RIGHTS – FOURTH AMENDMENT
           VIOLATION – UNLAWFUL TERRY STOP – CARMEN MANNING

         86.      Ms. Khoury re-alleges the allegations contained in paragraphs 1-85 of this

  Complaint.




                                                   9
Case 1:20-cv-21841-JEM Document 1 Entered on FLSD Docket 05/04/2020 Page 10 of 16




         87.     This action is brought by Ms. Khoury pursuant to title 42, section 1983, United

  States Code, for the deprivation of her Civil Rights caused by Miami-Dade County Police

  Officer Carmen Manning.

         88.     Officer Manning intentionally committed an act that violated Ms. Khoury’s

  Fourth Amendment right not to be subjected to an unreasonable or prolonged investigatory stop.

         89.     No reasonable police officer could have believed that Ms. Khoury was involved,

  or was about to become involved, in criminal activity.

         90.     Officer Manning’s conduct caused injury to Ms. Khoury.

         91.     Officer Manning was acting under color of state law as a police officer when she

  committed such acts.

        COUNT II: DEPRIVATION OF CIVIL RIGHTS - FOURTH AMENDMENT
           VIOLATION - UNLAWFUL TERRY STOP – DARIUS MCGAHEE

         92.     Ms. Khoury re-alleges the allegations contained in paragraphs 1-85 of this

  Complaint.

         93.     This action is brought by Ms. Khoury pursuant to title 42, section 1983, United

  States Code, for the deprivation of her Civil Rights caused by Miami-Dade County Police

  Officer Darius McGahee.

         94.     Officer McGahee intentionally committed an act that violated Ms. Khoury’s

  Fourth Amendment right not to be subjected to an unreasonable or prolonged investigatory stop.

         95.     No reasonable police officer could have believed that Ms. Khoury was involved,

  or was about to become involved, in criminal activity.

         96.     Officer McGahee’s conduct caused injury to Ms. Khoury.

         97.     Officer McGahee was acting under color of state law as a police officer when he

  committed such acts.

                                                 10
Case 1:20-cv-21841-JEM Document 1 Entered on FLSD Docket 05/04/2020 Page 11 of 16




        COUNT III: DEPRIVATION OF CIVIL RIGHTS - FOURTH AMENDMENT
            VIOLATION - UNLAWFUL ARREST – CARMEN MANNING

         98.     Ms. Khoury re-alleges the allegations contained in paragraphs 1-85 of this

  Complaint.

         99.     This action is brought by Ms. Khoury pursuant to title 42, section 1983, United

  States Code, for the deprivation of her Civil Rights caused by Miami-Dade County Police

  Officer Carmen Manning.

         100.    Officer Manning intentionally committed an act that violated Ms. Khoury’s

  Fourth Amendment right not to be arrested or imprisoned without probable cause.

         101.    Officer Manning’s conduct caused injury to Ms. Khoury.

         102.    Officer Manning was acting under color of state law as a police officer when she

  committed such acts.

         103.    No reasonable officer could have believed that probable cause existed to arrest or

  imprison Ms. Khoury for a criminal offense.

       COUNT IV: DEPRIVATION OF CIVIL RIGHTS – FOURTH AMENDMENT
            VIOLATION - UNLAWFUL ARREST – DARIUS MCGAHEE

         104.    Ms. Khoury re-alleges the allegations contained in paragraphs 1-85 of this

  Complaint.

         105.    This action is brought by Ms. Khoury pursuant to title 42, section 1983, United

  States Code, for the deprivation of her Civil Rights caused by Miami-Dade County Police

  Officer Darius McGahee.

         106.    Officer McGahee intentionally committed an act that violated Ms. Khoury’s

  Fourth Amendment right not to be arrested or imprisoned without probable cause.

         107.    Officer McGahee’s conduct caused injury to Ms. Khoury.


                                                11
Case 1:20-cv-21841-JEM Document 1 Entered on FLSD Docket 05/04/2020 Page 12 of 16




         108.    Officer McGahee was acting under color of state law as a police officer when he

  committed such acts.

         109.    No reasonable officer could have believed that probable cause existed to arrest or

  imprison Ms. Khoury for a criminal offense.

        COUNT V: DEPRIVATION OF CIVIL RIGHTS – FOURTH AMENDMENT
             VIOLATION – EXCESSIVE FORCE – CARMEN MANNING

         110.    Ms. Khoury re-alleges the allegations contained in paragraphs 1-85 of this

  Complaint.

         111.    This action is brought by Ms. Khoury pursuant to title 42, section 1983, United

  States Code, for the deprivation of her Civil Rights caused by Miami-Dade County Police

  Officer Carmen Manning.

         112.    Officer Manning intentionally committed an act that violated Ms. Khoury’s

  Fourth Amendment right to be free from excessive force during an arrest.

         113.    The amount of force used against Ms. Khoury by Officer Manning and other

  officers was unreasonable and excessive under the circumstances.

         114.    Officer Manning’s conduct caused injury to Ms. Khoury.

         115.    Officer Manning was acting under color of state law as a police officer when she

  committed such acts.

       COUNT VI: DEPRIVATION OF CIVIL RIGHTS – FOURTH AMENDMENT
             VIOLATION – EXCESSIVE FORCE – DARIUS MCGAHEE

         116.    Ms. Khoury re-alleges the allegations contained in paragraphs 1-85 of this

  Complaint.




                                                12
Case 1:20-cv-21841-JEM Document 1 Entered on FLSD Docket 05/04/2020 Page 13 of 16




         117.     This action is brought by Ms. Khoury pursuant to title 42, section 1983, United

  States Code, for the deprivation of her Civil Rights caused by Miami-Dade County Police

  Officer Darius McGahee.

         118.     Officer McGahee intentionally committed an act that violated Ms. Khoury’s

  Fourth Amendment right to be free from excessive force during an arrest.

         119.     The amount of force used against Ms. Khoury by Officer McGahee and other

  officers was unreasonable and excessive under the circumstances.

         120.     Officer McGahee’s conduct caused injury to Ms. Khoury.

         121.     Officer McGahee was acting under color of state law as a police officer when he

  committed such acts.

         COUNT VII: DEPRIVATION OF CIVIL RIGHTS – FIRST AMENDMENT
            VIOLATION – RETALIATION – OFFICER CARMEN MANNING

         122.     Ms. Khoury re-alleges the allegations contained in paragraphs 1-85 of this

  Complaint.

         123.     This action is brought by Ms. Khoury pursuant to title 42, section 1983, United

  States Code, for the deprivation of her Civil Rights caused by Miami-Dade County Police

  Officer Carmen Manning.

         124.     Ms. Khoury has a First Amendment right to film or photograph while she is

  standing on a public sidewalk.

         125.     When Officer Manning was told that Ms. Khoury was filming from the public

  sidewalk, Officer Manning retaliated against her by illegally detaining and/or arresting her.

         126.     Ms. Khoury was engaged in an activity, i.e. filming or photographing in public,

  which is protected by the First Amendment.



                                                  13
Case 1:20-cv-21841-JEM Document 1 Entered on FLSD Docket 05/04/2020 Page 14 of 16




         127.     Ms. Khoury’s act of filming or photographing in public was a motivating factor

  in Officer Manning’s decision to detain and/or arrest Ms. Khoury.

         128.     Officer Manning’s decision to detain and/or arrest Ms. Khoury would likely

  deter similarly situated reasonable people from filming or photographing in public.

         129.     Officer Manning’s conduct caused injury to Ms. Khoury.

         130.     Officer Manning was acting under color of state law as a police officer and

  intentionally detained and/or arrested Ms. Khoury.

        COUNT VIII: DEPRIVATION OF CIVIL RIGHTS – FIRST AMENDMENT
           VIOLATION – RETALIATION – OFFICER DARIUS MCGAHEE

         131.     Ms. Khoury re-alleges the allegations contained in paragraphs 1-85 of this

  Complaint.

         132.     This action is brought by Ms. Khoury pursuant to title 42, section 1983, United

  States Code, for the deprivation of her Civil Rights caused by Miami-Dade County Police

  Officer Darius McGahee.

         133.     Ms. Khoury has a First Amendment right to film or photograph while she is

  standing on a public sidewalk.

         134.     When Officer McGahee was told that Ms. Khoury was filming from the public

  sidewalk, Officer McGahee retaliated against her by illegally detaining and/or arresting her.

         135.     Ms. Khoury was engaged in an activity, i.e. filming or photographing in public,

  which is protected by the First Amendment.

         136.     Ms. Khoury’s act of filming or photographing in public was a motivating factor

  in Officer McGahee’s decision to detain and/or arrest Ms. Khoury.

         137.     Officer McGahee’s decision to detain and/or arrest Ms. Khoury would likely

  deter similarly situated reasonable people from filming or photographing in public.

                                                  14
Case 1:20-cv-21841-JEM Document 1 Entered on FLSD Docket 05/04/2020 Page 15 of 16




         138.     Officer McGahee’s conduct caused injury to Ms. Khoury.

         139.     Officer McGahee was acting under color of state law as a police officer and

  intentionally detained and/or arrested Ms. Khoury.

          COUNT IX: STATE LAW FALSE ARREST/IMPRISONMENT – MIAMI-DADE
                             COUNTY, FLORIDA

         140.     Ms. Khoury re-alleges the allegations contained in paragraphs 1-85 of this

  Complaint.

         141.     This action is brought by Ms. Khoury against Miami-Dade County for state law

  false arrest and/or false imprisonment, pursuant to Miami-Dade County’s waiver of sovereign

  immunity under Florida Statute 768.28.

         142.    Miami-Dade County, via Officers Manning and McGahee, unlawfully detained

  and deprived Ms. Khoury of her liberty.

         143.    Miami-Dade County, via Officers Manning and McGahee, intentionally detained

  Ms. Khoury under circumstances that were unreasonable and unwarranted.

         144.    None of Miami-Dade County’s officers had probable cause to arrest Ms. Khoury.

         145.    Ms. Khoury suffered harm as a result.

         146.    Pursuant to the Miami-Dade County’s waiver of sovereign immunity under

  Florida Statute 768.28, it is liable to Ms. Khoury for her injuries caused by Officers Manning and

  McGahee.

         WHEREFORE, Plaintiff, Susan Khoury, demands judgment for her economic and

  noneconomic damages, attorney’s fees, the costs of prosecuting this action, and any other relief

  this Court deems proper and just.




                                                 15
Case 1:20-cv-21841-JEM Document 1 Entered on FLSD Docket 05/04/2020 Page 16 of 16




                                 DEMAND FOR JURY TRIAL

        Ms. Khoury demands a jury trial of all issues so triable as of right by a jury.

        DATED: May 1, 2020.

                                                  Hilton Napoleon, II, Esq., FBN 17593
                                                  Joseph P. Klock, Jr., Esq. FBN 155678
                                                  RASCO KLOCK PEREZ NIETO
                                                  2555 Ponce de Leon Blvd., Suite 600
                                                  Coral Gables, Florida 33134
                                                  Telephone: 305.476.7111
                                                  Facsimile: 305.675.7707

                                                  Counsel for the Plaintiff, Susan Khoury


                                                  By: /s/ Hilton Napoleon, II
                                                          Hilton Napoleon, II




                                                 16
